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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 HORIZON MEDICINES LLC and NUVO
 PHARMACEUTICALS (IRELAND)
                                                     Civil Action No. 2:1 5-cv-03326-SRC-CLW
 DESIGNATED ACTIVITY COMPANY,
                                                     (consolidated for discovery purposes with:
                        Plaintff
                             I S,
                                                     C.A. No. 2:16-cv-0491$-SRC-CLW,
                                                     C.A. No. 2:16-cv-09035-$RC-CLW,
                 V.
                                                     C.A. No. 2:15-cv-03327-SRC-CLW,
                                                     C.A. No. 2:16-cv-04921-SRC-CLW,
 LUHN LTD. and LUPIN
 PHARMACEUTICALS INC.,                                     °


                        Defendants.


                                 STIPULATION OF DISMISSAL

         1.      Pursuant to Rules 41 (a)( 1) and 41(c) of the federal Rules of Civil Procedure,

  Plaintiffs Horizon Medicines LLC and Nuvo Pharmaceuticals (Ireland) Designated Activity

  Company (together, “Plaintiffs”) and Defendants Lupin Ltd. and Lupin Pharmaceuticals Inc.

  (together, “Lupin”) (collectively, “Parties”) hereby stipulate and agree that all claims,

  counterclaims and affirmative defenses asserted by the Parties against one another in the above-

  captioned action (“Action”), are hereby dismissed without prejudice, and without costs,

  disbursements, or attorneys’ fees to any party.

         2.      The Court specifically retains jurisdiction over Plaintiffs and Lupin for the

  purpose of adjudicating any issues arising from the settlement of this Action.

         3.      Each Party is to bear its own costs and attorneys’ fees.
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 IT IS on this    day of
                           A       ,   2019:


                                               SO ORDERED:


                                             —H-St Rer
                                             Inited States District Court Judge




                                         2
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 s/Karen A. Confoy                          s/John F. Flaherty
 Karen A. Confoy                            John E. Flaherty
 FOX ROTHSCHILD LLP                         Ravin R. Patel
 Princeton Pike Corporate Center            MCCARTER & ENGLISH, LLP
 997 Lenox Drive                            Four Gateway Center
 Lawrenceville, NJ 08648
 609-244-3033                               100 Mulberry Street
 kconfoy@foxrothschild.com                  Newark, New Jersey 07102
                                            973-622-4444
 Of Counsel:
                                            Attorneysfor Ptarntffs Hortzon Pharma,
 Sailesh K. Patel (admitted pro hac vice)   Inc., Horizon Pharma USA, Inc. and Nuvo
 Helen H. Ji (admitted pro hac vice)        Pharmaceuticals (Ireland) Designated
 SCHIFF HARDIN LLP                          Activity Company
 233 S. Wacker Dr., Suite 6600
 Chicago, IL 60606                          Stephen M. Hash
 312-258-5500                               Jeffrey Gritton
 Stephen J. Smith                           Samoneh Kadivar
 SCHIFF HARDIN LLP                          BAKER BOTTS, LLP
 901 K Street NW, Suite 700                 98 Jacinto Boulevard, Suite 1500
 Washington, DC 20001                       Austin, TX 98701-4078
 202-778-6400                               512-322-2587
 Attorneysfor Defendants Lupin Ltd.         Of Counselfor PlaintffNuvo
 and Lupin Pharmaceuticals, Inc.            Pharmaceuticals (Ireland.) Designated
                                            Activity Company

                                            Ellen A. Scordino
                                            COOLEY LLP
                                            500 Boylston Street
                                            Boston, MA 02116-3736
                                            617-937-2300

                                            Jonathan G. Graves
                                            COOLEY LLP
                                            One Freedom Square
                                            Reston Town Center
                                            11951 Freedom Drive
                                            Reston, VA 20 190-5656
                                            703-456-8000

                                            Susan M. Krumplitsch
                                            Philip H. Mao
                                            COOLEY LLP
                                            3175 Hanover Street
                                            Palo Alto, CA 94304-1130
                                            650-843-5000
                                            Of Counselfor Plaint ff Horizon Pharma,
                                            Inc., Horizon Pharma USA, Inc.
